Case 1:20-cv-10484-GAO Document 66-25 Filed 11/01/22 Page 1 of 4
Case 1:20-cv-10484-GAO Document 66-25 Filed 11/01/22 Page 2 of 4

From: riffin

To: Seth Barnett

Subject: Re: Sullivan v. Walpole - Email sent by Chief Carmichael
Date: Monday, August 22, 2022 6:53:50 PM

Attachments: image0Oi.png

 

Confirmed

On Mon, Aug 22, 2022 at 6:52 PM Seth Barnett <SBarnett@piercedavis.com> wrote:

Pll get that drafted right now. Our server was down all down and it made a lot of work
impossible.

Attached is a deposition notice for @j Sullivan. | understand that she does not intend to
appear for a deposition. Can you just confirm I do not need to have a Court Reporter
present. We will simply plan to seek a dismissal of her claims down the road.

Thanks,

Seth

Seth Barnett

F Partner

PIERCE DAVIS & PERRITANO.te

 

i ce S iife 1 100N
Boston. MA 02109
617-350-0950

8 @pier vis.com

www. piercedavis.c

This eleetronie message transmission contains ATTORNEY PRIVILEGED AND CONFIDENTIAL information intended
only for the use of the individual or entity named above. If the reader of this message is not the intended recipient, you are
hereby notified that any dissemination, distribution or copy of this communication is strictly prohibited. Ifyou have
received this communication in error, please erase all copies of the message and its attachments and notify the sender
immediately.
Case 1:20-cv-10484-GAO Document 66-25 Filed 11/01/22 Page 3 of 4

Seth Barnett

r Partner

 

PIERCE DAVIS & PERRITANO. ne

 

 

617-350-0950
' Biietoedans
www.plercedavis.com

Robert M. Griffin, Esq.

DHAR LAW, LLP

Schrafft’s City Center Power House
529 Main Street, Suite P200
Charlestown, Massachusetts 02129

Office: 617-880-6155
Mobile: 508-922-9794

Fax: 617-880-6160 or 508-541-7930
www.dharlawllp.com

This email may contain confidential privileged material for the sole use of the intended
recipient(s) and may be subject to the attorney-client privilege. Any review, use, distribution
or disclosure by others is strictly prohibited. If you are not the intended recipient (or
authorized to receive for the recipient), please contact the sender by reply email and delete all
copies of this message. Please visit www.dharlawllp.com for more information.
Case 1:20-cv-10484-GAO Document 66-25 Filed 11/01/22 Page 4 of 4

From: Robert Griffin <rgriffin@dharlawllp.com>

Sent: Monday, August 22, 2022 3:29 PM

To: Seth Barnett <SBarnett@piercedavis.com>

Subject: Re: Sullivan v. Walpole - Email sent by Chief Carmichael

Thank you . Are you going to file the motion to extend the
time to complete the depositions? I am just distracted now
with trial prep and don't want to let this slip through the
cracks.

Robert M. Griffin, Esq.
DHAR LAW, LLP

Schrafft’s City Center Power House
529 Main Street, Suite P200
Charlestown, Massachusetts 02129

Office: 617-880-6155
Mobile: 508-922-9794
Fax: 617-880-6160 or 508-541-7930
www.dharlawllp.com

This email may contain confidential privileged material for the sole use of the intended
recipient(s) and may be subject to the attorney-client privilege. Any review, use, distribution
or disclosure by others is strictly prohibited. If you are not the intended recipient (or
authorized to receive for the recipient), please contact the sender by reply email and delete

all copies of this message. Please visit www.dharlawllp.com for more information.

On Fri, Aug 19, 2022 at 2:52 PM Seth Barnett <SBarnett@piercedavis.com> wrote:

I believe this is the email you were referring to. Let me know if that’s correct.

Thanks,
Seth
